From:           MORENO, RICARDO
To:             BP Field Chiefs; BP Field Deputies
Cc:             LATA, MICHAEL S; BLANCHARD-JR, KENNETH W; SEGOVIA, ENRIQUE R; FALETTE, WANDER M; Immigration
                Prosecution & Custody OPS; OPS LEOD ACC
Subject:        URGENT - Cease Processing for Parole With Conditions
Date:           Thursday, May 11, 2023 10:57:50 PM
Attachments:    image001.png
                image002.png


Good evening,

CBP has received a temporary restraining order in FL v. U.S. - 3:21-cv-1066 (N.D. Fla.).

Effective immediately, cease processing all individuals under parole with conditions as
outlined in Chief Ortiz’s memorandum of May 10, 2023 “Policy on Parole with Conditions in
Limited Circumstances Prior to Issuance of a Charging Document (Parole with Conditions).”

All further times are EASTERN TIME

At 11:30 p.m. any individual who is not process complete for parole with conditions should be
reprocessed
At 11:45 p.m. all processing for parole with conditions must cease completely and this is the
last moment for process complete

After 11:45 pm. NO INDIVIDUAL MAY CONTINUE TO BE PROCESSED FOR PAROLE
WITH CONDITIONS

Any individual processed under parole with conditions process complete as of 11:45 p.m. may
be released tomorrow consistent with the Sector’s normal release procedure.

Thank you,

Rick Moreno
Acting Deputy Chief
Law Enforcement Operations Directorate
U.S. Border Patrol Headquarters
Cell:
